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                                                              For the reasons stated below, we deny Plaintiffs'
Motions, Pleadings and Filings                               amended motion for class certification, as well as
                                                             Plaintiffs' motion to strike and/or exclude statements
Only the Westlaw citation is currently available.            procured by Defendant from putative class members.
                                                             Additionally, Defendant's motion to strike is denied
                                                             as moot.

            United States District Court,                                       BACKGROUND
           N.D. Illinois, Eastern Division.
                                                              Plaintiffs are African-American and Hispanic
Bernard PRUITT, Leeannetta Baggett, Billy Borum,             laborers who are employed by the City of Chicago,
             David Davenport, Everett                        Department of Aviation. Plaintiffs allege that from
 Fisher, Leander Gibbs, William Olascoaga, Elaine            1992 to 2002, they were subjected to racial and
             Preston, Lamar Rodez, and                       national origin discrimination and harassment.
Willie Rolling, on behalf of themselves and all others       Generally, Plaintiffs allege that harassing statements
                  similarly situated,                        were made to them by their supervisors and that they
                      Plaintiffs,                            were subjected to unfair working conditions because
                          v.                                 of their race and national origin. Plaintiffs have
     CITY OF CHICAGO, DEPARTMENT OF                          mainly accused a former foreman of Defendant
              AVIATION, Defendant.                           named Anthony Jason ("Jason") for allegedly making
                                                             harassing statements.
                   No. 03 C 2877.
                                                              Plaintiffs allege a pattern and practice of racial and
                    May 20, 2004.                            national origin harassment against African-American
                                                             and Hispanic laborers prohibited by Title VII of the
Uche O. Asonye, Nydia Molina, Asonye and                     Civil Rights Act of 1964 ("Title VII"), 42 U.S.C. §
Associates, Chicago, IL, for Plaintiffs.                     2000e et seq., and 42 U.S.C. § 1981 ("Section
                                                             1981"). Plaintiffs seek class certification as to Count I
Laura Shroyer Liss, Daniel A. Kaufman, Regina                of their class action complaint for a class of "all
Worley Calabro, Michael Best & Friedrich, LLC,               African-American       and     Hispanic      employees,
Chicago, IL, for Defendant.                                  classified as laborers, for the City of Chicago,
                                                             Department of Aviation at the O'Hare International
                                                             Airport Facility ("O'Hare") from 1992 to 2002 who
             MEMORANDUM OPINION                              have been subjected to various forms of racial
                                                             harassment because of Defendant's ineffective anti-
DERYEGHIAYAN, J.                                             harassment policy."

 *1 This matter is before the court on Bernard Pruitt's,                     LEGAL STANDARD
Leeannetta Baggett's, Billy Borum's, David
Davenport's, Everett Fisher's, Leander Gibbs',                A plaintiff must first satisfy the requirements of Rule
William Olascoaga's, Elaine Preston's, Lamar                 23(a) of the Federal Rules of Civil Procedure in order
Rodez's, and Willie Rolling's ("Plaintiffs") motion for      to be granted a class certification. Rule 23(a)
class certification as to Count I of their Class Action      provides as follows:
Complaint filed against Defendant City of Chicago,             One or more members of a class may sue or be
Department of Aviation ("Defendant"). Plaintiff has            sued as representative parties on behalf of all only
also filed a motion to strike and/or exclude                   if (1) the class is so numerous that joinder of all
statements procured by Defendant from putative class           members is impracticable, (2) there are questions
members. In addition, Defendant has filed a motion             of law or fact common to the class, (3) the claims
to strike certain portions of Plaintiffs' reply to their       or defenses of the representative parties are typical
amended motion for class certification.                        of the claims or defenses of the class, and (4) the
                                                               representative parties will fairly and adequately


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   protect the interests of the class.                       Mitsubishi Motor Mfg. of America, Inc., 102 F.3d
 Fed.R.Civ.P. 23(a). Failure by a plaintiff to satisfy       869, 870 (7th Cir.1996). While a court has limited
any one of the above requirements precludes                  "power to restrict communications between
certification as a class. Retired Chicago Police Ass'n       defendants and putative class members before the
v. City of Chicago, 7 F.3d 584, 596 (7th Cir.1993). If       class is even certified ... such control is designed to
a plaintiff is able to satisfy all of the requirements of    prevent abuse of the class action process" such as
Rule 23(a), the district court must then determine           "[c]ommunications that undermine the purposes of
whether a plaintiff's action can be maintained as a          Rule 23 includ[ing] misleading communications and
class action by meeting one of the requirements of           communications which affect a putative class
Rule 23(b) of the Federal Rules of Civil Procedure.          members' decision to participate in the class action."
See Williams v. Chartwell Fin. Servs., Ltd., 204 F.3d        Wiginton v. Ellis, 2003 WL 22232907, at *2
748, 760 (7th Cir.2001)(explaining Fed.R.Civ.P.              (N.D.Ill.2003)(citing Gulf Oil Co. v. Bernard, 452
23(b)(1)(2)(3)).                                             U.S. 89, 99-100 n. 12, 101 S.Ct. 2193, 68 L.Ed.2d
                                                             693 (1981)). Generally, a Court issues "an order
 *2 In order to determine whether a class should be          limiting discovery communications between parties
certified, a court may make factual and legal inquires       and potential class members" only if such an order is
necessary under Rule 23. Szabo v. Bridgeport                 warranted "based on a clear record and specific
Machines, Inc., 249 F.3d 672, 675-76 (7th Cir.2001).         findings that reflect a weighing of the need for a
A court need not accept a plaintiff's assertions as          limitation and the potential interference with the
conclusive, but may receive any evidence necessary           rights of the parties." Williams, 204 F.3d at 759.
to make a decision on class certification. See id.           There is no evidence that Defendant abused the class
(explaining why the court accepts a complaint's              action process or was involved in misleading
factual allegations when ruling on motions to dismiss        communications. In addition, Plaintiffs have failed to
under Rule 12(b)(6) but does not when ruling on              supply this court with any evidence--except for three
class certification motions under Rule 23).                  paragraphs of speculation--that any of the putative
                                                             class members' rights were in any way threatened by
                    DISCUSSION                               such communication. Pl.'s Mot. To Strike pages 4-5.
I. Plaintiffs' Motion to Strike                              Plaintiffs also claim that Defendant's attorneys have
                                                             committed violations of the ethical rules of
 Plaintiffs filed a motion to strike and/or exclude          professional conduct. Such an allegation is a serious
statements procured by Defendant from putative class         allegation and needs to be supported with sufficient
members. Plaintiffs allege that Defendant's attorneys        evidence. Plaintiffs have failed to provide sufficient
(1) participated in ex parte communications with             evidence to support their claims.
putative class members; (2) have been undermining
the express purpose of Rule 23(b)(3) of the Federal           *3 It appears that Plaintiffs' counsel's real motive in
Rules of Civil Procedure with respect to determining         moving to strike the statements is to exclude
whether a class should be certified; and that as such        evidence which might eventually be prejudicial to
(3) have committed violations of the ethical rules of        Plaintiffs' case. For instance, one of the documents
professional conduct. The court finds that these             that Plaintiffs are attempting to exclude is an affidavit
allegations are without merit.                               from a Hispanic laborer at the Department of
                                                             Aviation who not only states: "I have not been
 In this case, Plaintiffs have not supported their           subject to, or seen anyone else subjected to any race
contention that any abuse took place as a result of          discrimination, racial harassment, national origin
Defendant's communications with the alleged                  discrimination or harassment, retaliation or any other
putative class members. Plaintiffs claim that                improper treatment during my employment with the
Defendant improperly contacted putative class                City," but also states: "I know the 10 people who
members. This raises issues concerning whether or            filed this lawsuit and had heard that a discrimination
not the court needs to issue a protective order              suit had been filed against the City. I believe that they
prohibiting communications between the parties and           are all in the suit 'for the ride.' They're getting on the
putative class members. The purpose of a protective          train and hoping to get money for it." (Def.'s App.
order is to ensure that the putative class members'          Vol. III: Marquez). Another affidavit that Plaintiffs
rights are protected and that the intent of Rule 23 is       seek to strike is from an African-American minister
not undermined. The Seventh Circuit has stated that          who is a laborer at the Department of Aviation. The
each side of an action generally has a "right" to send       affiant states that he had not been subjected to race
a communication to class members. E.E.O.C. v.                discrimination or harassment and further states: "I

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have not seen or heard of any African-American or          foremen relating to isolated statements by such
Hispanic employees including any of the people who         supervisors or foremen. For example, Plaintiffs have
filed this lawsuit being treated unfairly by anyone at     mentioned the names of five foremen, but Plaintiffs
the City related to working assignments, or other          have made no allegations against them. Plaintiffs
terms and conditions of employment." The affiant           have mentioned the names of two foremen, one of
also states: "Jason was a good guy to work for and we      whom is no longer employed by Defendant, and one
respected each other. Jason treated all employees          supervisor and have attributed only one isolated
equally and I did not observe him single out or treat      alleged derogatory statement to each. After
unfairly any African-American, Hispanic, or any            discovery, Plaintiffs have not introduced or revealed
other employee." (Def.'s App. Vol. III: Fluker).           any new names of supervisors or new allegations
Another example is an affidavit by an African-             against any supervisors that were involved in any
American laborer who stated that he was asked by           harassing conduct. Plaintiffs also have failed to offer
Plaintiff Pruitt to join this lawsuit but that he told     evidence or even make allegations regarding the
Pruitt that he would not get involved because he has       conduct of any supervisors other than Jason, who no
not been discriminated against. The affiant further        longer is employed by Defendant. Other than alleging
states: "I could not take part in this lawsuit because     one isolated derogatory statement made by a foreman
that would make me a liar." (Def.'s App. Vol. III:         and a supervisor, Plaintiffs have offered no additional
Lacy).                                                     evidence of supervisory harassment. Since the
                                                           allegations are against a former foreman and
 There are numerous other affidavits by African-           Plaintiffs have made only allegations of one or two
American and Hispanic laborers at the Department of        isolated statements attributed to two current
Aviation indicating that they were not the subject of      foremen/supervisors, the class definition appears to
race discrimination or racial harassment and that they     be inappropriate for purposes of class certification. In
did not see Jason or other supervisors harassing other     addition, the proposed class definition includes
employees nor have they heard about such                   employees that never worked for Jason or the few
harassment. We emphasize in commenting on                  other supervisors mentioned and there is no reason
Plaintiffs' motives for seeking to exclude the             why the proposed class should consist of employees
affidavits and other materials that we are not ruling      of supervisors other than the ones named by
upon the merits of Plaintiffs' claims. Based upon the      Plaintiffs. Therefore, a class action is not appropriate.
foregoing, we deny Plaintiffs' motion to strike and/or
exclude statements procured by the Defendant from           In an attempt to justify their claim against Defendant
any putative class members.                                and to seek class certification, Plaintiffs have merely
                                                           made allegations against one former foreman and
II. Class Definition                                       have attempted to impute his alleged behavior on the
                                                           rest of the supervisors by making isolated references
 In their amended motion for class certification,          to two foremen who may have been present when
Plaintiffs have defined their proposed class as            certain alleged derogatory statements were made. It
consisting of: "all African-American and Hispanic          appears that Plaintiffs have attempted to artificially
employees, classified as laborers, for the City of         justify their proposed class. There is a dispute
Chicago, Department of Aviation at the O'Hare              whether certain derogatory statements were made in
International Airport Facility ("O'Hare") from 1992        the first instance, and if they were made, whether
to 2002 who have been subjected to various forms of        such statements or conduct constitutes unlawful
racial harassment because of Defendant's ineffective       racial discrimination or harassment. This in no way
anti-harassment policy." Pl.'s Amend. Mem. pages 1-        should be construed to mean that derogatory
3; See also Alliance to End Repression v. Rochford,        statements are acceptable behavior. To the contrary,
565 F.2d 975, 977 (7th Cir.1977)(explaining that:          even one derogatory statement or comment aimed at
"whether the description of a class is sufficiently        a racial or ethnic group is one too many. However,
definite to permit ascertainment of the class members      whether or not the allegations and evidence in this
must, of necessity, be determined on a case-by-case        case support class certification is an entirely different
basis.")                                                   question and is examined under the appropriate
                                                           standard.
 *4 In their complaint, Plaintiffs almost exclusively
allege harassing conduct by Jason, who is no longer         The bulk of Plaintiffs' class allegations are based
employed by the Defendant, and only in passing             upon unsupported and vague contentions that the
make references to a few other supervisors or              City's management engaged in racial discrimination

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and harassment. To allow Plaintiffs to certify a class       Employee # 's 1-75; Hispanic Employee # 's 1-24.
to include employees who work for other supervisors          One list identifies potential African-American class
against whom there is no evidence or even                    members and the other list identifies potential
allegations of harassment and to allow discovery             Hispanic class members. Plaintiffs maintain that
pertaining to those supervisors would be to condone          these two lists reflect the proposed class because they
the ultimate fishing expedition.                             encompass "all African-American and Hispanic
                                                             employees, classified as laborers, for the City of
III. Rule 23(a) Prerequisites to a Class Action              Chicago, Department of Aviation at the O'Hare
                                                             International Airport Facility ("O'Hare") from 1992
 *5 In order to obtain class certification a plaintiff       to 2002 who have been subjected to various forms of
must first satisfy all of the requirements of Rule 23(a)     racial harassment because of Defendant's ineffective
as articulated earlier in this opinion. Fed.R.Civ.P.         anti-harassment policy ." Pl.'s Amend. Mot. pages 1-
23(a); Retired Chicago Police Ass'n, 7 F.3d at 596.          3. Plaintiffs seek to certify this class under Count I of
                                                             the complaint which alleges violation under both
A. Numerosity                                                Title VII and Section 1981. Pl.'s Amend. Mem. p. 1.

 In Plaintiffs' amended memorandum in support of             2. Title VII
their motion for class certification, Plaintiffs state
that it is virtually impossible to provide the court with     Title VII requires that a charge of discrimination be
an exact number of potential members of the class at         filed with the Equal Employment Opportunity
this time, but maintain that a good faith estimate of        Commission ("EEOC") within 180 days "after the
ninety-nine persons is sufficient. P.'s Amend. Mem.          alleged unlawful employment practices occurred."
p. 5. Plaintiffs contend that "Defendant's murky             Tinner v. United Ins. Co. of America, 308 F.3d 697,
production of employee records has made it nearly            707 (7th Cir.2002)(citing 42 U.S.C. § 2000e-
impossible to provide the Court with an accurate             5(e)(1)). The statute provides that the time period for
number." Pl.'s Reply p. 3. Plaintiffs' contention is         the filing of the charge may be extended if the
completely disingenuous. Even though Defendant has           aggrieved person initially institutes proceedings with
tendered to Plaintiffs voluminous lists of all laborers      a state or local agency. Id. In the state of Illinois, the
employed by Defendant at O'Hare from 1992 until              time period for filing of the charge of discrimination
the present, Def. Resp. to Pl.'s Amend. Mem. p. 4.,          is 300 days. Bilow v. Much Shelist Freed Denenberg
Plaintiffs have been demanding lists of employees            Ament & Rubenstein, P.C, 277 F.3d 882, 893 (7th
who hold other positions at O'Hare totally unrelated         Cir.2001).
to the proposed class. Pl.'s Reply pages 3-4.
                                                              *6 Plaintiffs have included in their proposed class
 Plaintiffs also contend that Defendant has not              the names of employees who no longer are employed
produced a report indicating the percentage of "all"         as laborers for Defendant and who never filed an
African-American and Hispanic employees at                   EEOC charge in the first place. The Supreme Court
O'Hare. Pl.'s Reply at fn. 4. However, the proposed          of the United States recently held that "[i]n the
class definition Plaintiff wishes this court to certify      context of a request to alter the timely filing
does not include "all" African-American and                  requirements of Title VII, this Court has stated that
Hispanic employees at O'Hare, but instead, includes a        'strict adherence to the procedural requirements
class of "all African-American and Hispanic                  specified by the legislature is the best guarantee of
employees, classified as laborers, for the City of           evenhanded administration of the law." ' See National
Chicago, Department of Aviation at the O'Hare                Railroad Passenger Corp. v. Morgan, 536 U.S. 101,
International Airport Facility ("O'Hare") from 1992          108, 122 S.Ct. 2061, 153 L.Ed.2d 106 (2002)(quoting
to 2002 who have been subjected to various forms of          Mohasco Corp. v. Silver, 447 U.S. 807, 826, 100
racial harassment because of Defendant's ineffective         S.Ct. 2486, 65 L.Ed.2d 532 (1980)). Notwithstanding
anti-harassment policy." P.'s Amend. Mem. pages 1-           this holding, Plaintiffs contend that these former
3.                                                           laborers should be included in this proposed class
                                                             under the continuing violation theory. In addressing
1. Proposed Class Members                                    class claims, the Seve nth Circuit has stated "[i]t is not
                                                             necessary that each class member have filed a charge
 Plaintiffs have provided this court with two separate       with the EEOC; however, only those who could have
lists that collectively identify ninety-nine proposed        filed a charge at or after the time a charge was filed
class members. Pl.'s Ex. 4: African-American                 by the class representative can be included in the

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class." Movement for Opportunity and Equality v.
General Motors Corp., 622 F.2d 1235, 1248 (7th                3. Section 1981
Cir.1980) (citations omitted).
                                                               For Section 1981 claims Congress has enacted a
 Plaintiffs, acting as class representatives, filed their     statute of limitations which provides: "a civil action
earliest charge of discrimination with the EEOC on            arising under an Act of Congress enacted after the
July 1, 2002. Accordingly, the filing period for a            date of enactment of this section may not be
Title VII claim by the named Plaintiffs in this action        commenced later than 4 years after the cause of
is within 180 days prior to July 1, 2002 (i.e. between        action accrues." 28 U.S.C. § 1658(a). In Jones v.
January 2, 2002 and July 1, 2002). Therefore, any             R.R. Donnelley & Sons Co., --- U.S. ----, 124 S.Ct.
individual who was not employed as a laborer by               1836, --- L.Ed.2d ---- (2004) the United States
Defendant between January 2, 2002 and July 1, 2002            Supreme Court stated: "We conclude that a cause of
(the "Title VII filing period") could not have filed a        action 'aris[es] under an Act of Congress enacted'
charge in the first instance. As such, forty-eight of the     after December 1, 1990--and therefore is governed by
ninety-nine individuals listed in the proposed class          § 1658's 4-year statue of limitations--if the plaintiff's
that were not employed as laborers by Defendant               claim against the defendant was made possible by a
during the Title VII filing period may not be                 post-1990 enactment." Jones, --- U.S. at ----, 124
considered part of the proposed class for Title VII           S.Ct. at 1845. In this case, as in Jones, Plaintiffs'
relief. Pl.'s Ex. 4.                                          Section 1981 claim arises under the 1991 Act and
                                                              therefore was made possible by a post-1990
 The court notes that of the remaining fifty-one              enactment. Id. Therefore, the 4- year statute of
proposed class members under Title VII, twelve                limitations applies in this case.
have signed statements in which each laborer has
individually declared that he or she has not been              Plaintiffs, acting as class representatives, filed this
subjected to, or seen anyone else subjected to, any           case with this court on April 29, 2003. Accordingly,
race discrimination, racial harassment, national origin       any cause of action that could have been filed by
discrimination or harassment, retaliation or any other        Plaintiffs in this case would have had to occurred
improper treatment during his or her employment               within the four years preceding April 29, 2003 (i.e.
with the City. Also, each laborer has provided in the         between April 29, 1999 and April 29, 2003).
statement details about his or her individual                 Therefore, any individual who was not employed as a
experiences indicating the absence of any                     laborer by Defendant between April 29, 1999 and
discrimination or harassment. Pl.'s Ex. 4; Def.'s App.        April 29, 2003 (the "Section 1981 filing period")
Vol. I R.26; Vol. III. In addition, eight other               could not have filed a case in the first instance. As
individuals have declared or testified that they would        such, twenty-seven of the ninety-nine individuals
not want to become members of the lawsuit brought             listed in the proposed class that were not employed as
by Plaintiffs in this case. Pl .'s Ex. 4; Def.'s App. Vol.    laborers by Defendant during the Section 1981 filing
R.26, 27; Vol. II(A)(B); Vol. III. As such, these             period may not be considered part of the proposed
twenty individuals may not be considered part of the          class for Section 1981 relief. Pl.'s Ex. 4.
proposed class for Title VII relief.
                                                               The court notes that of the remaining seventy-two
 The court also notes that of the remaining thirty-one        proposed class members under Section 1981, thirteen
proposed class members under Title VII, four were             have signed statements in which each individually
not employed as laborers by Defendant at O'Hare               declared: "I have not been subjected to, or seen
between 1992 to 2002. Pl.'s Ex. 4; Def.'s App. Vol I,         anyone else subjected to, any race discrimination,
R. 13. In addition, one individual identified as a            racial harassment, national origin discrimination or
proposed class member in this motion is barred from           harassment, retaliation or any other improper
this case because he previously filed and settled a           treatment during my employment with the City." Pl.'s
lawsuit against the same Defendant asserting the              Ex. 4; Def.'s App. Vol. I R.26; Vol. III. In addition,
same allegations as the named Plaintiffs in this              eight other individuals have declared or testified that
action. Pl.'s Ex. 4; Def.'s App. Vol. I, Ex. 18.              they would not want to become members of the
                                                              lawsuit brought by Plaintiffs in this case. Pl.'s Ex. 4;
 *7 Thus, for purposes of numerosity under Title VII,         Def.'s App. Vol. R.26, 27; Vol. II(A)(B); Vol. III. As
the proposed class contains only twenty-six members           such, these twenty-one individuals may not be
as opposed to the original ninety-nine set forth in the       considered part of the proposed class for Section
motion.                                                       1981 relief.

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                                                             individuals, in addition to the named Plaintiffs, that
 The court also notes that of the remaining fifty-one        may join their action, and it is not clear whether those
proposed class members under Section 1981, eleven            16 additional individuals were harassed. This court
were never employed as laborers by Defendant at              also notes that Plaintiffs' class definition is also too
O'Hare between 1992 and 2002. Pl.'s Ex. 4; Def.'s            broad.
App. Vol I, R. 13. In addition, one individual
identified as a proposed class member in this motion          Plaintiffs have failed to establish that the proposed
is barred from this case because he previously filed         class in this case is so numerous and that joinder of
and settled a lawsuit against the same Defendant             all of the potential members would be impracticable.
asserting the same allegations as the named Plaintiffs
in this action. Pl.'s Ex. 4; Def.'s App. Vol. I, Ex. 18.     B. Commonality and Typicality

 *8 Thus, for purposes of numerosity under Section            Even if Plaintiffs were able to meet the numerosity
1981, the proposed class contains only thirty-nine           requirement of Rule 23(a)--which they have not met--
members as opposed to the original ninety-nine set           they have failed to meet the commonality and
forth in the motion.                                         typicality requirements as discussed below.

 Plaintiffs have failed to establish that this proposed       The commonality and typicality requirements of the
class, under both Title VII and Section 1981, is so          Federal Rules "ensure that only those plaintiffs or
numerous that joinder is impracticable in this matter.       defendants who can advance the same factual and
Plaintiffs have identified thirty-nine proposed class        legal arguments may be grouped together as a class."
members, thirteen of which cannot proceed under              Mace v. Van Ru Credit Corp., 109 F.3d 338, 341 (7th
Title VII. Therefore, at best, the proposed class only       Cir.1997). For effective representation of a class, the
consists of twenty-six members who might be able to          named representatives' claims must "have the same
proceed under both Title VII and Section 1981. In            essential characteristics as the claims of the class at
addition, the court notes that joinder in these              large." Retired Chicago Police Ass'n, 7 F.3d at 596
circumstances is not impracticable inasmuch as               (quoting De La Fuente v. Stokley-an Camp, Inc., 713
Plaintiffs have failed to establish that certification of    F.2d 225, 232 (7th Cir.1983)).
such a small class would be warranted due to the lack
of resources of the proposed class, fear of retaliation,      *9 As demonstrated in the numerosity analysis
or in the interest of judicial economy. Instead,             above, if a class was certified consisting of thirty-
Plaintiffs have filed their motion with speculation and      nine class members, only twenty-six would be able to
conflicting testimony from proposed class members.           seek relief under both Title VII and Section 1981 in
Def.'s App. Ex. R. 20.                                       accordance with the class definition. The remaining
                                                             thirteen would only be able to advance under Title
 A plaintiff seeking class certification has a "burden       VII. Consequently, the legal and factual arguments
of demonstrating the numerosity requirement of a             would vary with respect to the different legal
class action, and 'mere speculation as to the number         standards and necessary facts to be proved should the
of parties involved is not sufficient to satisfy Rule        individuals be grouped as a class.
23(a)(1)." ' Roe v. Town of Highland, 909 F.2d 1097,
1100 (7th Cir.1990)(quoting 7A C. Wright, A. Miller           Moreover, even if this court were to certify all thirty-
& M. Kane, Federal Practice and Procedure § 1762             nine individuals as a class, the claims of the
at 164 (2d ed.1986)). A plaintiff seeking class              individuals are not common or typical of the claims
certification "cannot rely on 'conclusory allegations        of the class as a whole. For instance, in their
that joinder is impractical or on speculation as to the      amended motion for class certification, Plaintiffs do
size of the class in order to prove numerosity ." ' Id.      not allege that they were subject to a common form
(quoting Marcial v. Coronet Ins. Co., 880 F.2d 954,          of racial harassment while they were employed as
957 (7th Cir.1989). In this case, Plaintiffs have            O'Hare laborers from 1992 until 2002. Instead,
attempted to give the false impression that the              Plaintiffs admit that the O'Hare laborers endured
proposed class consists of 99 individuals. However,          "various forms of racial harassment" while they were
Plaintiffs have failed miserably in their attempt in         employed from 1992 until 2002. Pl.'s Amend. Mem.
view of the fact that the vast majority of Plaintiffs'       pages 1-3. Plaintiffs also admit that different types of
proposed class of 99 members, as discussed above,            alleged harassing statements were made to them.
are not eligible or willing to participate in a class        Therefore, each alleged harassing statement would
action. At best, Plaintiffs have identified 16               need to be individually examined by the trier of fact.

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In addition, Plaintiffs have alleged different forms of      O'Hare who have been employed "from at least 1992
harassment such as being worked too hard by Jason            to 2002." However, Plaintiffs' own exhibits in
and being made to stay outside when it was                   support of their motion reveal that four of the ten
extremely cold or hot. Also, Plaintiffs have made            named Plaintiffs were not employed by the City
virtually all of their allegations of harassment against     "from at least 1992 to 2002." Pl.'s Ex. 4. In addition,
Jason and not against other supervisors. Plaintiffs          Plaintiffs in their Reply have attempted to buttress
make it clear that Jason's shift was particularly            their argument for class certification by asking the
difficult and thus there will be differences in each         court to consider a completely irrelevant article. Pl.'s
class member's claim depending on which shifts the           Reply p. 1; Pl.'s Reply Ex. 2. Furthermore, Plaintiffs'
class member worked on and which supervisor                  attempt to include in their class an individual who
covered the shift. The differences in the treatment of       had already filed and settled an action against
each employee is well illustrated by the many                Defendant alleging the same facts and allegations
affidavits of employees introduced by Defendant that         does not demonstrate good faith. The Court also
specifically state that they were not the subject of         notes that Defendant has correctly pointed to
racial discrimination or harassment by Jason or any          numerous discrepancies of facts that Plaintiffs have
other supervisor.                                            alleged and maintained throughout their briefs. Def.'s
                                                             App. Ex. R.20. One example why Plaintiffs would
 In addition, Plaintiffs have alleged dozens of              not be able to adequately represent a class is the
separate claims by the proposed class members                method in which the Plaintiffs have tried to meet the
against the Defendant. Pl.'s Amend. Mem. pages 6-            numerosity requirement by poorly identifying a
11. Although these claims are carefully clumped              proposed class of ninety-nine individuals in the hope
together in the motion so as to appear that they were        that some of the names might survive. However, as
constant and occurred simultaneously, a closer               noted above, the vast majority of the proposed class
review of the depositions suggests that each of the          identified by the Plaintiffs cannot survive.
charges are distinct in content and vary with respect
to the time and setting in which they allegedly               In addition, Plaintiffs' counsel's attempt to portray
occurred. Pl.'s Ex.'s 17-39. Furthermore, the facts          themselves as experienced litigators of class actions
asserted by the class representatives carry with them        is unconvincing. A closer look at the facts based
a myriad of allegations and possible defenses which          upon Plaintiffs' representations relating to class
this court would have to individually construe and           litigation experience and Defendant's briefs reveals
ultimately apply for or against the proposed class as a      that Plaintiffs' counsel previously were involved in
whole. Id. Hence, Plaintiffs have failed to establish        two cases touching on class certification. In one case
that there are questions of law or fact common to the        the class was not certified and in the other case the
proposed class or that the claims and defenses of the        case was settled before trial. Therefore, Plaintiffs'
representative parties are typical of the claims or          counsel have not met their burden of showing to the
defenses of the proposed class.                              court that they are experienced with class action
                                                             matters. Plaintiffs have failed to meet the adequacy of
C. Adequacy of Representation                                representation requirements.

*10 Even if Plaintiffs were able to establish all of the      Based upon the foregoing, we conclude that
other requirements of Rule 23(a)--which they have            Plaintiffs have failed to satisfy all of the requirements
not--their attempt to certify this class would still fail    of Rule 23(a) and therefore, a class action is not
under the adequacy requirement discussed below.              appropriate.

 Plaintiffs in this matter believe they can fairly and       II. Rule 23(b) Class Actions Maintainability
adequately protect the interests of their proposed
class. Yet, the level of inadequacy the Plaintiffs have       A plaintiff who meets Rule 23(a) requirements
demonstrated in the filing of this motion for class          would still have to establish that the action is
certification casts serious doubt on their ability to        maintainable under Rule 23(b). See Williams, 204
represent an entire class of individuals. Plaintiffs         F.3d at 760(discussing Fed.R.Civ.P. 23(a)). In view
have done a poor job in preparing their motion for           of the fact that Plaintiffs have failed to meet the rule
class certification and supporting documents. For            23(a) requirements and this court has determined that
instance, the ten named Plaintiffs, in their amended         a class action is not appropriate, we need not address
motion for class certification, claimed that they were       whether the class action is maintainable under Rule
African-American or Hispanic laborers for the City at        23(b).

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                   CONCLUSION

 *11 Based upon the foregoing, we deny Plaintiffs'
motion for class certification. In addition, we deny
Plaintiffs' motion to strike and/or exclude statements
procured by the Defendant from putative class
members. Defendant's motion to strike is also denied
as moot.

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